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                           EXHIBIT C
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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Case No. 16-cv-02981-KMT

   TECH INSTRUMENTATION,INC., a Colorado corporation,
   individually and on behalf of all others similarly situated,

             Plaintiff,

   v.

   EURTON ELECTRIC COMPANY,INC., a California corporation

             Defendant.


    DEFENDANT EURTON ELECTRIC COMPANY,INC.'S AMENDED RESPONSES TO
             PLAINTIFF'S FIRST SET OF REQUESTS TO PRODUCE




                                      PRELIMINARY STATEMENT

              Pursuant to Rule 34, Federal Rules ofCivil Procedis~e ("FRCP"), defendant Eurton

   Electric Company, Inc.("Responding Party") responds to the Requests to Produce, Set One,

   propounded by Plaintiff("Propounding Party").

              Each response set forth herein, is subject to the stated limitations and to this Preliminary

   Statement, and is as complete as the information reasonably available to Responding Party as of

   the date of these responses. Responding Party's pre-trial discovery, investigation, and analysis

   are continuing, and Responding Party may learn of additional information subsequent to the date

   of these responses. The responses set forth herein are subject to being amended with inforrnatian

   and documents subsequently discovered, inadvertently omitted, or mistakenly identified in these

    initial responses. Moreover, as discovery, investigation, and legal research progress, new facts

    may be discovered and previously known facts may take on new meaning or significance,

    thereby changing any conclusions, opinions, representations, objections, and/or statements made

    herein.

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            All evidentiary objections shall be reserved for the time of trial and no waiver of any

   objection is to be implied from this Response or any production made pursuant hereto. By this

   Response and the ensuing production, Responding Party is not making any writing admissible at

   the time of trial which would otherwise be inadmissible.

            To the extent that this Response or any production pursuant hereto might waive, whether

   implicitly or explicitly, any otherwise assertable objection to discovery, such waiver shall be

   limited to this Response and to the ensuing production only, and shall not extend to any further

   requests for production or to any discovery proceedings or to any t•equests or subpoenas for the

   production of any such writings at the time of trial.

             To the extent that all or any of the requests seek information and/or documents subject to

   the attorney-client privilege then the Responding Party asserts the attorney-client and/or work

   product privileges to each of such requests as appropriate and to the extent necessary to avoid a

   waiver of such privileges.

             Responding Party responds to each and every discovery request subject to the foregoing,

   and each of the foregoing statements and objections are incorporated by reference into each of

   the following responses.


                              R~SPONS~S TO I2~QIJES'I' TO PRODUCT


   REQUEST TO PRODUCE NO. 1:

             All Documents sufficient to Identify and any all sales, transactions, or business dealings

   between You and TII.

   AMENDED RESPONSE TO REQUEST TO PRODUCE NO. 1:

             Objection. The Request is vague, ambiguous, compotimd, overly broad in time and scope,

    and it seeks information that is irrelevant and not likely to lead to admissible evidence.

             Subject to and without waiving, and notwithstanding the foregoing objections,

    Responding Party states: After a diligent search and reasonable inquiry, Responding party is not


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   in possession of any documents that would be responsive to this request. It is Responding

   Party's belief that Responding Party had no sales, transactions and/or business dealings with TII.

            Investigation and discovery is continuing and Responding Party reserves the right to

   supplement and/or amend its responses at a later date upon discovery of additional information.

   REQUEST TO PRODUCE NO.2:

            All Documents sufficient to Identify the manner by which You obtained TII's fax

   number.

   AMENDED RESPONSE TO REQUEST TO PRODUCE NO.Z:

            Objection. The Request is vague, ambiguous as phrased.

            Subject to and without waiving, and notwithstanding the foregoing objections,

   Responding Party states: After a diligent search and reasonable inquiry, Responding Party is not

   in possession of any documents that would be responsive to this request.

             Responding Party is unable to locate records pertaining to TII and, as such, cannot

   definitively state whether Responding Party or TII initiated the original contact. However, it is

   and has been Responding Party's policy and procedure to request express oral permission from

   any individual, person or business entity before sending a facsimile to said individual, person or

   business entity regarding Responding Party's goods.

             It is Responding Party's practice to utilize search engines on the Internet for the purposes

   of locating potential customers. Once a potential customer is located, Responding Party's

   practiced policy and procedure is for a representative of Responding Party to (1) contact the

    potential customer by telephone, discuss with the potential customer Responding Party's goods,

    and request express permission to utilize a customer's specific facsimile number for the purposes

    of sending Responding Party's facsimile regarding Responding Party's good,(2) when express

    permission is obtained from the potential customer, the facsimile number authorized to be used

    by the potential customer is added to a running list maintained by Responding Party, and (3)

    Responding Party sends its facsimile to the potential customer utilizing the facsimile number that

    the potential customer provided express permissions to use.

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            Investigation and discovery are continuing and Responding Party reserves the right to

   supplement and/or amend its responses at a later date upon discovery of additional information.

   REQUEST TO PRODUCE NO.3:

            All Documents sufficient to Identify all Person to whom You caused to be sent at least

   one(1)Fax and the total number of Faxes sent to each such Persons.

   AMENDED RESPONSE TO REQUEST TO PRODUCE NO.3:

            Objection. The Request is vague, ambiguous, compound, overly broad in time and scope,

   it seeks documents that are irrelevant and not likely to lead to admissible evidence, and therefore

   is burdensome, oppressive and harassing as phrased.

             Subject to and without waiving, and notwithstanding the foregoing objections,

   Responding Party responds: Responding party will produce its "running list" of facsimile

   numbers utilized the for the purposes of distributing advertisements by facsimile. The list is

   being produced in the manner in which it is maintained by Responding Party. Responding Party

   does not maintain records documenting when numbers were added or deleted from the list, so it

   cannot confirm how many faxes were sent to each number listed within the four years prior to

   the filing of this action, nor if an persons or entities that are not on the list were sent faxes within

   the four years prior to the filing of this action.

             Investigation and discovery are continuing and Responding Party reserves the right to

   supplement and/or amend its responses at a later date upon discovery of additional information.

   REQUEST TO PRODUCE NO. 4:

             All Documents sufficient to Identify, for all Persons Identi~tied in docurilents pi•oducecl in

   response to Request to Produce No. 3 above, each Person with whom You had an Established

   Business Relationship.

    AMENDED RESPONSE TO REQUEST TO PRODUCE NO.4:

             Objection. The Request is vague, ambiguous, compound, overly broad in time and scope,

    it seeks documents that are irrelevant and not likely to lead to admissible evidence, and therefore

    is burdensome, oppressive and harassing as phrased.

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           Subject to and without waiving, and notwithstanding the foregoing objections,

   Responding Party states: After a diligent search and reasonably inquiry, Responding Party is not

   in possession of any documents responsive to this request. Based upon the definition of

  "Established Business Relationship" as stated in 47 C.F.R. § 64.12000(6), Responding Party is

   unable to determine based upon records in its possession whether the individuals, persons and/or

   business entities had an "Established Business Relationship" with Responding Party at the time

   in which said individuals, persons and/or business entities were sent a facsimile by Responding

   Party regarding Responding Party's goods. Responding Party does not maintain records of when

   facsimiles are sent to specific individuals, persons and/or business entities and the status of the

   business relationship at the time in which the facsimile is sent.

            Investigation and discovery are continuing and Responding Party reserves the right to

   supplement and/or amend its responses at a later date upon discovery of additional information.

   REQUEST TO PRODUCE NO. 5:

            All Documents sufficient to Identify all Persons who have successfully opted out of

   receiving Your Faxes by following the "Please Remove" procedures outlined on Your Faxes

   together with the dates) they successfully opted out.

   AMENDED RESPONSE TO REQUEST TO PRODUCE NO. 5:

            Objection. The Request is vague, ambiguous, compound, overly broad in time and scope,

   it seeks documents that are irrelevant and not likely to lead to admissible evidence, and therefore

   is burdensome, oppressive and harassing as phrased.

            Subject to and without waiving, and notwithstanding the foregoing objections,

   Responding Party states: After a diligent search and reasonably inquiry, Responding Party will

   produce all non-privileged documents responsive to this request. Responding Party's custom and

   practice to immediately delete a person's or entity's fax number from its running list once that

   person or entity provides notice to the Responding Party that it no longer wants to receive faxes

   from the Responding Party.

             Investigation and discovery are continuing and Responding Party reserves the right to


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   supplement and/or amend its responses at a later date upon discovery of additional information.

   REQUEST TO PRODUCE NO. 8:

            All Documents sufficient to Identify any prior express permission or invitation You claim

   You obtained to send Faxes to TII prior to sending any Fax to TII.

   AMENDED RESPONSE TO REQUEST TO PRODUCE NO.8:

            Objection. The Request is vague, ambiguous and compound as phrased.

            Subject to and without waiving, and notwithstanding the foregoing objections,

   Responding Party responds: After a diligent search and reasonably inquiry, Responding Party is

   not in possession of any documents responsive to this request. It is Responding Party's practice

   to utilize search engines on the Internet for the purposes of locating potential customers. Once a

   potential customer is located, Responding Party's practiced policy and procedure is for a

   representative of Responding Party to (1) contact the potential customer by telephone, discuss

   with the potential customer Responding Party's goods, and request express permission to utilize

   a customer's specific facsimile number for the purposes of sending Responding Party's facsimile

   regarding Responding Party's good,(2) when express permission is obtained from the potential

   customer, the facsimile number authorized to be used by the potential customer is added to a

   running list maintained by Responding Party, and (3) Responding Party sends its facsimile to the

   potential customer utilizing the facsimile number that the potential customer provided express

   permissions to use.

             Investigation and discovery are continuing and Responding Party reserves the right to

    supplement and/or amend its responses at a later date upon discovery of additional information.

    REQUEST TO PRODUCE NO. 13:

             All Documents sufficient to Identify the Fax Machine, computer, or other device used to

    send the Fates at issue in the Complaint.

    AMENDED RESPONSE TO REQUEST TO PRODUCE NO. 13:

              Objection. The Request is vague, ambiguous, compolmd, overly broad in time and scope,

    it seeks documents that are irrelevant and not likely to lead to admissible evidence, and therefore

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   is burdensome, oppressive and harassing as phrased.

           Subject to and without waiving, and notwithstanding the foregoing objections,

   Responding Party responds: After a diligent search and reasonable inquiry, Responding Party is

   not in possession of documents responsive to this request. Within the four years prior to the

   filing of this action, the Responding Party hired WestFax, Inc., 9200 E. Mineral Ave., Suite 275,

   Centennial, Colorado 80112,(800)473-6208. Responding Party at this time does not recall if

   any additional third party faxing companies were utilized by Responding Party.

            Investigation and discovery are continuing and Responding Party reserves the right to

   supplement and/or amend its responses at a later date upon discovery of additional information.


   DATED: July 7, 2017                            Respectfully submitted,

                                                  A LVARADOSMITH
                                                  A Professional Corporation

                                                  By:     /s/ Jacob M. Clark
                                                        Theodore E. Bacon
                                                        Jacob M. Clark
                                                        ALVARADOSMITH, APC
                                                        633 W. Fifth Street, Suite 1100
                                                        Los Angeles, California 90071
                                                        Tel:(213)229-2400




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                                  CERTIFICATE OF SERVICE

           I hereby certify that on this 7th day of July 2017, I served the foregoing DEFENDANT
   EURTON ELECTRIC COMPANY,INC.'S AMENDED RESPONSES TO PLAINTIFF'S
   ~~~25~' ~E'~' ~~ F.~Q~.TL~'~'~ '~'~ D~Z~D'U~~ by causing such u~cument ~o ~e transmitted tc
   all counsel of record via electronic mail.

            Steven L. Woodrow
            swoodrow(a~woodrowpeluso.corn
            Patrick H. Peluso
            p~eluso a,woodrowpeluso.com
            Woodrow &Peluso, LLC
            3900 East Mexico Ave., Suite 300
            Denver, CO 80210

            Stefan Coleman
            Law(a~stefancoleman.com
            Law Office of Stefan Coleman, P.A.
            201 S. Biscayne Blvd, 28th Floor
            Miami, FL 33131


                                                  /s/Belinda Slack




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